                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:05CR294

UNITED STATES OF AMERICA                         )
                                                 )                  ORDER
       v.                                        )
                                                 )
TITO THOMPSON                             (1)    )
BOBBY THOMPSON                            (2)    )
GOWON DICKSON                             (5)    )
BOBBY LARUE THOMPSON, SR.                 (6)    )



        THIS MATTER IS BEFORE THE COURT on its own motion to continue the trial of
this matter from the April 2, 2007 term of court.

       The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

       IT IS THEREFORE ORDERED that this trial be scheduled for the April 23, 2007
term at 10:00 a.m. in the Charlotte Division..

        The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.
                                                 Signed: December 19, 2006




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